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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF WISCONSIN

  Lac Courte Oreilles Financial Services,
  LLC,Hummingbird Funds, LLC, Miinan
  Funds, LLC
                                              Case No. 3:22-cv-00344
                 Plaintiffs,
  v.

  Cane Bay Partners VI, LLLP, Dimension
  Credit (Cayman), L.P., Strategic Link
  Consulting, LP, Esoteric Ventures, LLC,
  InfoTel International Ltd, M. Mark High,
  Ltd.,Kirk Chewning, David Johnson, Kim
  Anderson, Jay Clark, and DOES 1-20,

                 Defendants.

                               NOTICE OF APPEARANCE


          PLEASE TAKE NOTICE that Andrew L. Van Houter of Faegre Drinker Biddle &

Reath LLP appears as counsel of record for Dimension Credit (Cayman), L.P. in this

action.

Dated: June 23, 2022                    /s/ Andrew L. Van Houter
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